Case 1:22-cv-21951-JEM Document 4 Entered on FLSD Docket 09/30/2022 Page 1 of 1




                        UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                     Case Number: 22-21951-CIV-MARTINEZ-BECERRA

 JOHN P. MIDDLETON,

        Plaintiff,

 vs.

 THE HOLLYWOOD REPORTER, LLC,
 GARY BAUM,
 and ROY LEE,

       Defendants.
 _____________________________________/

        ORDER TO SHOW CAUSE AND ADMINISTRATIVELY CLOSING CASE

        THIS CAUSE came before the Court sua sponte. Federal Rule of Civil Procedure 4(m)

 requires service of the summons and complaint upon Defendants within 90 days after the filing of

 the complaint. This deadline has passed, and, to date, there is no indication in the court record that

 any of the Defendants have been served with the summons and complaint. It is therefore

        ORDERED AND ADJUDGED that on or before October 5, 2022, Plaintiff shall show

 cause why this case should not be dismissed against Defendants for failure to perfect service of

 process. Failure to show good cause will result in the dismissal of all claims against Defendants

 without prejudice and without further notice. This case is ADMINISTRATIVELY CLOSED

 pending Plaintiff’s response and the Court’s resolution of this service issue.

        DONE AND ORDERED in Miami, Florida, this 28th day of September, 2022.

                                                       ________________________________
                                                       JOSE E. MARTINEZ
                                                       UNITED STATES DISTRICT JUDGE

 Copies provided to: Magistrate Judge Becerra & All Counsel of Record
